Case 1:25-cv-00162-PLM-PJG            ECF No. 6, PageID.79             Filed 04/22/25     Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 JUSTIN BOWMAN,

        Plaintiff,
                                                       Case No. 1:25-cv-162
 v.
                                                       HONORABLE PAUL L. MALONEY
 MICHIGAN STATE UNIVERSITY, et al.,

        Defendants.
 ____________________________/


                      ORDER REGARDING CLOSING DOCUMENTS

       This Court having been informed through the filing of the Notice of Settlemet (ECF No.

5) of the agreement between the parties to settle this matter:

       IT IS HEREBY ORDERED that appropriate closing documents shall be filed with the

Court no later than May 20, 2025.



Dated: April 22, 2025                                             /s/ Paul L. Maloney
                                                                 Paul L. Maloney
                                                                 United States District Judge
